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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                     PHILADELPHIA DIVISION

      In re: DAVID HARVILLA                          )
              Debtor                                 )
                                                     )       CHAPTER 13
      ACAR LEASING LTD                               )
      d/b/a GM FINANCIAL LEASING                     )       Case No.: 20-12645 (MDC)
             Moving Party                            )
                                                     )       Hearing Date: 10-27-20 at 10:30 AM
         v.                                          )
                                                     )       11 U.S.C. 362
      DAVID HARVILLA                                 )
           Respondent                                )
                                                     )
      WILLIAM C. MILLER                              )
           Trustee                                   )
                                                     )
                                                     )
                                                     )
                      MOTION FOR RELIEF FROM THE AUTOMATIC STAY

      TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

              Comes now ACAR Leasing LTD d/b/a GM Financial Leasing (“ACAR”) filing this its
      Motion For Relief From The Automatic Stay (“Motion”), and in support thereof, would
      respectfully show:

              1. On June 16, 2020, David Harvilla filed a voluntary petition under Chapter 13 of the
      Bankruptcy Code.
              2. This Court has jurisdiction of the Motion by virtue of 11 U.S.C. 105, 361 and 362, and
      28 U.S.C. 157 and 1334.
              3. On November 27, 2017, the Debtor executed a Closed End Vehicle Lease Agreement
      for the lease of a 2017 Chevrolet Trax bearing vehicle identification number
      3GNCJNSBXHL286158. The Lease was assigned to ACAR Leasing and the Debtor became
      indebted to ACAR in accordance with the terms of same. ACAR Leasing is the owner of the
      vehicle. Wells Fargo NA is the Collateral Agent for the vehicle. True copies of the Lease
      Agreement and Title to the vehicle are annexed hereto as exhibits A and B.


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             4. The Debtor surrendered the vehicle to the dealership on September 9, 2020.
             5. ACAR Leasing LTD d/b/a GM Financial Leasing alleges that the automatic stay
      should be lifted for cause under 11 U.S.C. 362(d)(1) in that ACAR lacks adequate protection of
      its interest in the vehicle as evidenced by the following:
                     (a) ACAR Leasing has possession of the vehicle and requires stay relief in order
             to process and sell it.


             WHEREFORE PREMISES CONSIDERED, ACAR Leasing LTD d/b/a GM Financial
      Leasing respectfully requests that upon final hearing of this Motion, (1) the automatic stay will
      be terminated as to ACAR to permit ACAR to seek its statutory and other available remedies; (2)
      that the stay terminate upon entry of this Order pursuant to the authority granted by
      Fed.R.Bank.P., Rule 4001(a)(3) and (3) ACAR be granted such other and further relief as is just.




      Respectfully submitted,

      /s/ William E. Craig
      William E. Craig
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      Local Counsel for ACAR Leasing LTD
      d/b/a GM Financial Leasing




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